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 3
 4                  IN THE UNITED STATES DISTRICT COURT
 5                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,     )
                                   )        CR. No. S-05-155 LKK
 8                  Plaintiff,     )
                                   )
 9             v.                  )
                                   )        TIME EXCLUSION ORDER
10   ARIEL ANTONIO GAETE-ROIG,     )
     et al.,                       )
11                                 )
                    Defendants.    )
12   ______________________________)
13        Upon motion of both parties, the Court continues the next
14   status conference in this case to October 18, 2005 at 9:30 a.m..
15   Robert Forkner substituted as counsel for Eduardo Zazueta Garcia
16   on September 7, 2005.    According to the counsel, such continuance
17   is necessary for counsel adequately to review the discovery
18   provided by the government, to conduct further investigation, and
19   to consider possible resolution of the case.        Thus, the requested
20   continuance is for effective and diligent preparation.
21        The Court finds that the interests of justice served by
22   granting this continuance outweigh the best interests of the
23   public and the defendant in a speedy trial.        18 U.S.C. §§
24   3161(h)(8)(A), 3161(h)(8)(B)(iv), and time, therefore,          will be
25   excluded from September 27, 2005 through October 18, 2005.
26
27   DATE: October 3, 2005                  /s/ Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
28                                          U.S. DISTRICT JUDGE
